Case 19-60303-jwc     Doc 60    Filed 01/07/20 Entered 01/07/20 17:31:52        Desc Main
                                Document      Page 1 of 3


                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 IN RE:
                                                  CHAPTER 7
 AVEUM INVESTMENTS, LLC,
                                                  CASE NO. 19-60303-jwc
        Debtor.


                             CERTIFICATE OF SERVICE

       I, Anna M. Humnicky, certify that I am over the age of 18 and that: A) on January
7, 2020, I filed and served copies of the 1) Motion for Turnover and/or, in the Alternative,
Motion for Sanctions for Violating Automatic Stay (“Turnover Motion”); 2) Motion for
Approval and Payment of Administrative Expenses (“Expense Motion”); and 3) Motion
for Expedited Hearing regarding the Turnover Motion and the Expense Motion on behalf
of Cathy L. Scarver, Chapter 7 Trustee, on the parties listed in Exhibit A, by using the
Bankruptcy Court’s Electronic Case Filing program which sends a notice of the above-
listed documents and an accompanying link to the documents to the parties who have
appeared in this case under the Bankruptcy Court’s Electronic Case Filing program, as
indicated in Exhibit A; B) on January 7, 2020, the Court entered the Order and Notice of
Expedited Hearing regarding the Turnover Motion and the Expense Motion by using the
Bankruptcy Court’s Electronic Case Filing program which sends a notice of the above-
listed document and an accompanying link to the document to the parties who have
appeared in this case under the Bankruptcy Court’s Electronic Case Filing program, as
indicated in Exhibit A; C) on January 7, 2020, I served copies of all of the aforementioned
documents, via electronic mail, on the parties as indicated in Exhibit A; D) on January 7,
2020, I served copies of all of the aforementioned documents, via Overnight Service, on
the parties as indicated in Exhibit A; and E) on January 7, 2020, I served copies of all of
the aforementioned documents, via Certified Mail, on the parties as indicated in Exhibit A.

       This 7th day of January 2020.
                                          By:    /s/ Anna M. Humnicky_________
                                                 Anna M. Humnicky
                                                 Georgia Bar No. 377850
Small Herrin, LLP
2727 Paces Ferry Road
Building 2, Suite 200
Atlanta, GA 30339
(770) 857-4770
ahumnicky@smallherrin.com
Case 19-60303-jwc       Doc 60   Filed 01/07/20 Entered 01/07/20 17:31:52    Desc Main
                                 Document      Page 2 of 3


                                      EXHIBIT A

Via CM/ECF –

Evan M. Altman on behalf of Debtor Aveum Investments, LLC and Attorney George M.
Geeslin evan.altman@laslawgroup.com;johanna@laslawgroup.com

Lisa F. Caplan on behalf of Creditor U.S. BANK NATIONAL ASSOCIATION
lcaplan@rubinlublin.com,
akhosla@rubinlublin.com;nbrown@rubinlublin.com;mhashim@rubinlublin.com;ruluecf
@gmail.com;BKRL@ecf.courtdrive.com;rmoss@rlselaw.com

Thomas Wayne Dworschak on behalf of U.S. Trustee United States Trustee
thomas.w.dworschak@usdoj.gov, lisa.maness@usdoj.gov;ltctommyd@aol.com

Cathy L. Scarver
trusteescarver@bellsouth.net,
ga06@ecfcbis.com;papc1@bellsouth.net;yolanda_clsa@bellsouth.net

Via Electronic Mail –

Velocity Commercial Capital, LLC, c/o Lisa Caplan, lcaplan@rubinlublin.com

BellSouth Telecommunications, Inc., c/o Angela B. Stewart, as2130@att.com

Millennium Investment Group, LLC, c/o Prakash Parmar, prakash@migatlanta.com

Knight   Capital     Funding   III,      LLC,    ucc@knightcapitalfunding.com     and
legal@knightcapitalfunding.com

Johnny Garcia, c/o The Rouse Firm, law@therousefirm.com

Via Overnight Service -

Internal Revenue Service
Attn: Lisa D. Smith
401 W. Peachtree St., NW, M/S 334-D
Atlanta, GA 30308-3539




                                            2
Case 19-60303-jwc      Doc 60   Filed 01/07/20 Entered 01/07/20 17:31:52   Desc Main
                                Document      Page 3 of 3


U.S. Bancorp, d/b/a U.S. Bank, N.A., as Trustee for Velocity Commercial Capital Loan
Trust 2018-1
c/o Andrew Cecere, its Chairman, President & Chief Executive Officer
U.S. Bancorp Center
800 Nicollet Mall
Minneapolis, MN 55402-7014

Quicksilver Capital
161 South Franklin Avenue
Valley Stream, NY 11580

Via Certified Mail –

U.S. Bancorp, d/b/a U.S. Bank, N.A., as Trustee for Velocity Commercial Capital Loan
Trust 2018-1
c/o Andrew Cecere, its Chairman, President & Chief Executive Officer
U.S. Bancorp Center
800 Nicollet Mall
Minneapolis, MN 55402-7014




                                           3
